                             UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF VIRGINIA
                              CHARLOTTESVILLE DIVISION

 CLAIRE PAYTON and
 JONATHAN KATZ,

                          Plaintiffs,
        v.                                         Case No. 3:22-cv-00042-NKM-JCH

 LIANA ARIAS DE VELASCO GUALLART
 and CHRISTOPHER TSCHAPPATT,

                          Defendants.

       JOINT NOTICE OF SETTLEMENT AND STIPULATION OF DISMISSAL

       Plaintiffs Claire Payton and Jonathan Katz (“Plaintiffs”), and Defendants Liana Arias de

Velasco Guallart and Christopher Tschappatt (“Defendants”) (collectively, the “Parties”), notify

the Court that they have reached a settlement in the above-captioned case. The Parties stipulate

to the dismissal of this action, with prejudice, under Rule 41(a)(1)(A)(ii) of the Federal Rules of

Civil Procedure. The Parties further stipulate that each party shall bear its own fees and costs.

DATED: May 31, 2023                               Respectfully submitted,

/s/ Joseph J. Wardenski                           /s/ Kevin W. Holt
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Counsel for Plaintiffs
                                CERTIFICATE OF SERVICE

       I certify that on May 31, 2023, I filed the foregoing Joint Notice of Settlement and

Stipulation of Dismissal and electronically served a copy of same on all counsel of record using

the Court’s CM/ECF system.



                                                            /s/ Joseph J. Wardenski
                                                            Joseph J. Wardenski
